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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
19-10459-RWZ

                              UNITED STATES OF AMERICA


                                              v.


                                     JEREMIA MEDINA

                      MEMORANDUM AND ORDER OF DETENTION

                                     December 19, 2019
DEIN, M.J.

          The defendant is charged in an indictment with conspiracy to conduct enterprise

affairs through a pattern of racketeering activity, in violation of 18 U.S.C. § 1962(d), and

conspiracy to manufacture, distribute and possess with intent to distribute cocaine and

cocaine base, in violation of 21 U.S.C. § 846. An initial appearance was held before

this court on December 5, 2019, at which time the government moved for detention on

the grounds that the defendant poses a danger to the community and a serious risk of

flight.

          A detention hearing was held on December 19, 2019. The defendant was

represented by counsel. The government presented the testimony of Special Agent

Craig Harvey, who was cross-examined by the defendant’s counsel. The defendant

did not put on any evidence on his own behalf. At the conclusion of the evidence the

defendant, through counsel, notified the court that the defendant consented to the entry

of an order of detention, without prejudice to his right to reopen the issue at a later date.
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       Accordingly, it is ORDERED that the defendant be DETAINED pending trial, and

it is further ORDERED --

       (1)    That the defendant be committed to the custody of the Attorney General

for confinement in a correction facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       (2)    That the defendant be afforded a reasonable opportunity for private

consultation with counsel; and

       (3)    On order of a court of the United States or on request by an attorney for

the government, the person in charge of the corrections facility in which the defendant is

detained and confined deliver the defendant to an authorized Deputy United States

Marshal for the purpose of any appearance in connection with a court proceeding.

       This order is without prejudice to the defendant filing a motion at any time

seeking a hearing to consider possible conditions of release, regardless whether there

have been changed circumstances.


                                                        / s / Judith Gail Dein
                                                 Judith Gail Dein
                                                 United States Magistrate Judge
